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US. pep PASE PIR Lakls Qk267-ODW ‘Document 31-2 Filed 03/12/09 Page 2 of 19 Page ID #:166

‘Bureau of Cittzenship and {mmigration Services

U.S. Department of Justice
Immigration and Naturalization Service

OMB No, 1615-0067; Expires 9/30/03

Application for Asylum and for Withhoiding of Removal

     

 

Start Here- Please Type or Print. USE BLACK INK. SEE THE SEPARATE INSTRUCTION PAMPHLET FOR INFORMATION ABOUT
ELIGIBILITY AND BOW TO COMPLETE AND FILE THIS APPLICATION. (Note: There is NO filing fee for this application.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Please check the box if you aiso want to apply for withholding of removal under the Convention Against Torture. Dg
PART AJ. INFORMATION ABOUT YOU
1. Aken Registration Number(s}A #'s} (E 2. Social Security No. (ifan
° GKAHS) (am 73 309 218 YNo (fem) 6o4.55-0826
3. Complete Last Name 4. First Name 5. Middie Name
SALEH HUSSEIN
6. What other names have you used (Jaclude maiden name and aliases}
NONE
7. Residence in the U.S. Telephone Number
cio 213-748-3992
Street Number and Name Apt. No.
6718 FLORA AVENUE A
City State ZIP Code
BELL CA 90201
8. Mailing Address in the U.S., if other than above Telephone Number
SAME AS ABOVE
Street Number and Name Apt. No.
City State ZIP Code
9. Sex [A Male {([] Female iG. Marital Status: C} Single Married (]) Divorced f Widowed
Ll. Date of Birth (Afo/Day’¥r} 12. City and Country of Birth
14/17/1970 YAROUN LEBANON
13. Present Nationality (Citizenship) 14. Nationality at Birth 15. Race, Ethnic or Tribal Group 16. Religion
LEBANESE LEBANESE SHITE MUSLIM
17. Cheek the box, a through c that applies: a, {] [have never been in immigration court proceedings.
b. && [am now in immigration court proceedings. c. (2 lam got now in immigration court proceedings, but I have been in the past.

 

18. Complete 18 @ through ec.

a. When did you last leave your country? § (Mo/Day/Yr) EWI

O5/06/1998 b, What is your current 1-94 Number, if any?

c. Please list each entry to the U.S. beginning with your most recent entry.
List date (Mo/Day/Yr), and your status for each entry. (Attach additional sheets as needed}

Date 05/10/1998 Place SAN YSIDRO, CA Status PENDING ASYLUM pate Stanis Expires NIA
Date NIA Place Status
Date NIA Place Status
Date NIA Place Status

 

 

19. What country issued your last passport or travel

20. Passport # 1143625

21, Expiration Date (Mfo/DapYr)

 

 

 

 

 

document LEBANON Travel Document # NIA if
22, What is your native language? 23. Are you fluent in English? 24. What other languages do you speak fluently?
ARABIC (3 Yes qj No NONE
FOR EOIR USE ONLY FOR BCIS USE ONLY
Action:
Interview Date:
Decision:
__ Approval Date
_. Demal Date:

__. Referral Date:

Asylum Officer [D#

 

Form [-889 (Rev, 07/03/03Y

 
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PART A.D. INFORMATION ABOUT YOUR SPOUSE AND CHILDREN
Your Spouse = [7] [am not mared. (Skip to Your Children, below)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Alien Registration Number (A#) (ff day) 2. PassportAD Card No. (feat) 3. Date of Birth fAfo/Day/Yr) 4. Social Security Ne. ff any)
77 106 617 1156461 09/03/1978 NIA

5. Complete Last Name 6. First Name 7. Middie Name 8. Maiden Name
QUBEID HOSSEN HUSSEIN OUBEID

9. Date of Marriage (M4o/Day‘Yr) 16. Place of Marriage Li. City and County of Birth
68/10/1995 LEBANON BEIRUT LEBANON

12. Nationality (Citizenship) 13. Race, Ethnie or Tribal Group i4. Sex [7] Male fg Femaie
LEBANESE

15. Is this person in the U.S.? Yes (Complete blocks 16 to 24) C] Ne (Specify location)

16. Place of last entry in U.S,? 17. Date of last entry in the U.S. 18. 194No. (fan) 19. Status when last admitted

(Mo/Day/ Yr) (Visa type, ifarny)

SAN YSIDRO, CA NONE EWI

20, What is your spouse's 2], What is the expiration date of 22, Is your spouse in immigration 23. [f previously in the U.S., date

current status? histher authorized stay, if any? court proceedings? of previous arrival (fo/Day'Tr

PENDING ASYLUM (MolDawt) nia CI Yes & No NONE

 

 

 

 

24, Ifin the U.S., 1s your spouse to be included in this application? (Check the appropriate box.)

Yes (Attach one (I) photograph of your spouse in the upper right hand corner of page 9 on the extra copy of the application submitted for
this person}

OO Na

 

 

 

Your Children, Please list ALL. of your children, regardless of age, location, or marital status.

(CT 1 do not have any children (Skip to Part AJIL, Information about Your Background)

2 [ do have children. Total number of children 3

(Use Suppiement 4 Form [-589 or attach additional pages and documentation if vou have more than four (4) children.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Alien Registration Number (A#} 2. PassportD Card No. (ff any) 3. Marital Status (Married 4, Social Security No.
fifany} Single, Divorced, Widowed) (ifany)
NONE 61/25/1997 SINGLE 610-996-4696
5. Complete Last Name 6. First Name 7. Middle Name 8. Date of Birth (Afo/Day/Tr)
SALEH HAWRA, HUSSEIN 01/25/1997
9, City and Country of Birth 10. Nationality (Citizenship) li. Race, Bihnic or 12. Sex [ Male ( Female
. Tribal Group
LOS ANGELS, USA AMERICAN
13. Is this child in the U.8.? ij Yes (Complete Blocks 14 to 21) [J No (Specify Location)
14. Place of last entry in the U.5.7 15. Date of last entry in the U.5.? 16, 1-94.No. (fan) 17. Status when last admitted
(MofDaw¥r} {Visa type, ifany)
NIA OO NIA NIA ope Taney
18, What is your child's current status? 19. What is the expiration date of his/her 20. Is your child in immigration court proceedings?
authorized stay, if any? (Afo/Day/¥r)
US CITIZEN NIA i] Yes No

 

 

 

21. Ifin the ULS., is this child to be included in this application? © (Check the appropriate box)

C] Ves (Attach one (i) photograph of your child in the upper right hand corner of page 9 on the extra copy of the application submitted for this
person)

i No

 

 

Form 3-589 (Rev. O7/03/03)¥ Pape 2

 
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PART AL INFORMATION ABOUT YOUR SPOUSE AND CHILDREN Continued

 

 

 

 

 

 

 

 

 

 

1. Alien Registration Number (A#) 2. PassiD Card No. fifany) 3. Mantal Status (Married 4. Social Security No. ffany)
fifany} Single, Divorced, Widowed}
NONE 02/62/1999 SINGLE 626-117-1262
5. Complete Last Name 6. First Name 7. Middle Name 8. Date of Birth = (Mfo/Day/Year}
SALEH ZEINAB HUSSEIN 02/02/1999
9. City and Country of Birth 10, Nationality (Citizenship) 1). Race, Ethaic or Tribal Group 12. Sex () Male = &q Female
LOS ANGELES, USA AMERICAN
13. Is this child in the U.S.? Yes (Complete blocks i4 ta 21) £4 No (Specify Location)
14. Place of last entry in the U.S.? 15. Date of last entry in the 16. 1-94No. (fam) 17. Status when last admitted
US.7 (Mo/Day/¥r)
NiA NIA NIA NIA
18. What is your child's current status? 19. What is the expiration date of 20. Is your child in immigration court proceedings?
his/her authorized stay, (ifany)
US CITIZEN (Mo/Day¥r) A O Yes & No

 

 

 

21. [fin the US., is this child to be included in this application? (Check the appropriate box)

(1 Yes (Attach one (1) photograph ofyour child in the upper right hand corner of page 9 on the extra copy of the application submitted for this person.)
No ,

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Alien Registration Number 2. PassportD Card No. (ifar} 3. Mantal Status (iarried, Singie, 4, Social Security No.
(Af ve Divoreed, Widowea)}
NONE SINGLE XXX-XX-XXXX
5, Complete Last Name 6. First Name 7. Middle Name &. Date of Birth fAfo/DayYr)
ALI SALEH HUSSEIN 06/06/2002
9, City and Country of Birth 10. Nationality (Citicenship} 11. Race, Ethnic or Tribal Group 12. Sex ([] Maile (4 Female
LOS ANGELES, U.S.A AWIERICAN
13. Is this Child in the U.S.? [st Yes (Complete blocks i4 to 21) fC] No (Specify Location)
14. Place of last entry in the U.S.? 15. Date of last entry in the U.S,? 16, 1-94 No. (fanp) 17. Status when last admitted (Visca
(MderDay¥r) type, fany)
NIA NIA NIA NiA
18. What is your child’s current status? 19. What is the expiration date of his/her 20. is vour chiid in immigration court
US CITIZEN authorized stay, if any? NA proceedings? (J Yes [j No

 

 

 

21. [fin the U.S., is this child to be included in this application? (Check the appropriate box

Ci} Yes (Auack one ()) photograph ofyour child in the upper right hand corner of page 9 on the extra copy of the application submitted for this person.)
(C No

£

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L. Alien Registration Number (A#) 2. PassportiD Card No. (ffanp) 3. Marital Status (Married 4. Social Security No. (If amy)
(fany) Single, Divorced, Widowed)
5. Complete Last Name 6, First Name 7, Middle Name 8. Date of Birth = fMo/Day’Y¥r}
9. City and Country of Birth 10. Nationality 11. Race, Ethnic or Tribal Group 12, Sex =) Male [7] Female
13. Is the child in the U_S.? Ct Yes (Complete blocks 14 to 21) [i No {Specify Location)
14. Place of last entry in the U.S.? 15. Date of last entry in the U.S? 16. 1-94.No. (fan 17. Status when last admitted (isa
{Mo/Day'Yr) type, ifany}
18 Whatis your child's current 19. What is the expiration date of his/her authorized 20. Js your child in immigration court proceedings
status? stay, if any? (Mfo/Day/Yr)
( Yes {J No

 

 

 

21. Uf t the ULS., is this child to be included in this application? (Check the appropriate box}

Cl Yes (Amach one (1) photograph of your child in the upper right hand corner of page 9 on the extra copy of the application submitted for this person.)
No

 

 

 

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PART AU. INFORMATION ABOUT YOUR BACKGROUND

1. Please list your last address where you lived before coming to the U.S. If this is net the country where your fear persecution, also list the last
address in the country where you fear persecution. (List Address, City/Town, Department, Province, or State, and Country.) (Use Supplement B
Form 1-589 or additional sheets of paper if necessary.)

 

Number and Street City/Town Department, Province or State Country Dates
(Provide if available} From (Afoftr) To (Mor¥ri

 

 

 

 

 

 

2. Provide the following information about our residences during the last five years. List your present address first. (U/se Supplement Form B or
additional sheets of paper if necessary)

 

 

 

 

Number and Street CityiTown Department, Province or State Country Dates
From fAfo/¥r} To filer ¥ri
6710 FLORA AVENUE BELL CA U.S.A 02/2005 Present
6708 GIFFORD STREET, APTA BELL CA U.S.A 06/2000 01/2005
6619 GIFFORD STREET, APTA BELL CA LSA 08/1997 06/2000

 

 

 

 

 

 

 

3. Provide the following information about your education, beginning with the most recent. (Use Supplement B Form 1-589 or additional sheets of

 

 

 

paper if necessary.)
Name of School Type of School Location (Address) Attended
From (Mo/¥r) To (Mo/Y¥r)
YARGUN HIGH SCHOOL HIGH SCHOOL YARGUN, LEBANON 03/1983 11/1988
YAROUN PRIMARY SCHOOL PRIMARY YAROUN, LEBANON 01/1977 12/1982

 

 

 

 

 

 

 

 

 

4. Provide the following information about your employment during the last five years. List your presentemployment firs. (Use Supplement Form
8 or additional sheets of paper ifnecessary.}

Name and Address of Employer Your Occupation Dates
From T ‘}

STAR CITYA&H 1262 S$. LOS ANGELES $T. LOS BUSSINESSMAN 06 1989 | PRESENT

 

3. Provide the following information about your parents and siblings (brother and sisters), Check box if the person is deceased. (Use Supplement B
Form I-389 or additional sheets of paper ifnecessary.)

 

 

 

 

 

Name City/Town and Country of Birth Current Location
Mother f] Deceased
ZAHRAH SELIM YAROUN, LEBANON YARCUN LEBANON
Father Ml Deceased
SALEH SALEH YAROUN, LEBANON “YAROUN LEBANON
Siblings ( Deceased
SALE SALEH YAROUN, LEBANON BELL , CALIFORNIA
Mm; Deceased
SALEH SALEH YAROUN, LEBANON BELL, CALIFORNIA

 

 

 

 

 

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PART B. INFORMATION ABOUT YOUR APPLICATION

(Use Supplement B Form 1-589 or attach additional sheets af paper as needed to complete your responses ta the questions contained iti
PART B}

When answering the following questions about your asylum or other protection claim (withholding of removal under 241 {b)(3) of the Act or
withholding of removal under the Convention Against Torture) you should provide a detailed and specific account of the basis of your
claim to asylum or other protection. To the best of your ability, provide specific dates, places, and descriptions about each event or action
described. You should attach documents evidencing the general conditions in the country from which you are seeking asylum or other
protection and the specific facts on which you are relying to support your claim. If this documentation is unavailable or you are not
providing this documentation with your application, please explain why in your responses to the following questions. Refer to

Instructions, Part 1: Filing Instructions, Section Il, "Basis of Eligibility,” Parts A-D, Section V, "Completing the Form," Part B, and Section
VH, *Additional Documents the You Should Submit" or more information on completing this section of the form,

1. Why are you applying for asylum or withholding of removal under section 241 (b){3) of the Act, or for withholding of removal
under the Convention Against Torture? Check the appropriate box(es) below and then provide detailed answers to questions A and

B below.

i am seeking asylum or withholding of removal based on
rr] Race
Religion
["] Nationality
fq Political opinion
LJ Membership in a particular social group
(J Torture Convention

A. Have you, your family, or close friends or colleagues ever experienced harmn or mistreatment or threats in the past by anyone?

[J] No Bq Yes if your answer is "Yes," explain in detail:

1) What happened;
2) When the harm or mistreatment or threats occurred;

3) Who caused the harm or mistreatment or threats; and

4) Why you believe the harm or mistreatment or threats occurred.

I WAS UNLAWFULLY ARRESTED BY THE SOUTHERN LEBANON ARMY (SLA} IN 11/1996 AND 6/1997. WHEN | WAS ARRESTED, |
WAS ACCUSED OF BEINGA MEMBER OF THE HEZBOLLAH MILITIA, ILLEGALLY DETAINED FOR A MONTH, CONFINED TO A SMALL
CELL UNDER POOR CONDITIONS, INTERROGATED, TORTURED (SLAPPED, KICKED, PUNCHED, HIT WITH THE BACK OF A RIFLE},
SHOT AT AND GRAZED BY A BULLET, HELD AT GUNPOINT AND THREATENED WITH DEATH, AND THREATENED WITH THE
ARREST/TORTURE OF MY FAMILY MEMBERS. IN ADDITION, 2 OF MY BROTHERS AND MY FATHER WERE ARRESTED, BEATEN,
INTERROGATED, AND THREATENED WITH DEATH BY THE SLA IN 1996 AND 1997. THE SLA THREATENED TO DEMOLISH MY
FAMILY'S HOME IF THEY DID NOT DIVULGE INFORMATION ABOUT ME.

[WAS CONSCRIPTED BY THE SLA WHEN I WAS 20 YEARS OLD. MY SERVICE WITH THE SLA ENDED IN 1995 WHEN THEY

B. Do you fear harm or mistreatment if you return to your home country?

LI No fg Yes If your answer is “Yes,” explain in detail:

1} What harm or mistreatment you fear;
2} Who you believe would harm or mistreat you, and
3) Why you believe you would be harmed or mistreated,

I FEAR THAT THE SLA WILL UNLAWFULLY DETAIN, INTERROGATE, TORTURE, AND THREATEN ME AND MY FAMILY -- AS THEY
HAVE BONE IN THE PAST. | ALSO FEAR THAT IF | RETURN TO LEBANON, I WILL. BE IMMEDIATELY IDENTIFIED, ARRESTED, AND
ULTIMATELY MURDERED BY THE LEBANON GOVERNMENT AUTHORITIES OR CIVILIANS WHO HAVE BRANDED ME A TRAITOR. [
BELIEVE | WOULD BE HARMED BECAUSE OF MY POLITICAL BELIEFS. | AM POLITICALLY NEUTRAL AND BO NOT WANT TO JOIN IN
SLA'S MILITARY ACTIVITIES, NOR DO 1 WANT TO JOIN IN THE HEZBOLLAH MILITIA’S ACTIVITIES. BECAUSE | DID NOT SIDE WITH
THE SLA OR HEZBOLLAH, BOTH GROUPS BELIEVED i WAS SECRETLY WORKING FOR THE OPPOSITION. THE HEZBOLLAH HAVE
REPEATEDLY QUESTIONED MY FAMILY ABOUT ME AND | FEAR THAT THEY WILL TRY TO CAPTURE ME BECAUSE OF MY PAST

COLLABORATION WITH THE SLA.

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PART B. INFORMATION ABOUT YOUR APPLICATION Continued

2. Have you or your family members ever been charged, arrested, detained, interrogated, convicted and sentenced, or
imprisoned in any country other than the United States?

rt} No fq Yes If"Yes,” explain the circumstances and reasons for action.

IN 14/96 AND 6/1997, | WAS UNLAWFULLY ARRESTED, DETAINED, INTERROGATED, AND IMPRISONED BY THE SLA IN LEBANON
. IN 1996, 1 WAS DETAINED FOR 1 MONTH IN A SMALL CELL WITH INSUFFICIENT FOOD. | WAS NOT PERMITTED TO
COMMUNICATE WITH OTHERS, INCLUDING MY FAMILY. | WAS INTERROGATED, THREATENED, AND TORTURED, BUT NEVER
PRESENTED WITH ANY ARREST WARRANT OR EVIDENCE THAT | COMMITTED A CRIME. 1WAS ACCUSED OF BEING A
"DESERTER" AND COLLABORATING WITH THE HEZBOLLAH MILITIA. THEY SLAPPED, KICKED, PUNCHED, HiT ME WITH A RIFLE,
AND THREATENED MY AND MY FAMILY'S LIFE. EACH TIME | REFUSED TO REJOIN THE SLA, THEY BEAT ME MORE SEVERELY. IN
1997, 1 WAS INTERROGATED, THREATENED, AND TORTURED. THE SLA BEAT ME WITH CLOSED FISTS AND RIFLES, AND SHOT
BULLETS BETWEEN MY FEET. AT ONE POINT, A BULLET GRAZED MY ARM, LEAVING A SCAR.

IN ADDITION, 2 OF MY BROTHERS AND MY FATHER WERE ARRESTED, BEATEN, INTERROGATED, AND THREATENED WITH
DEATH BY THE SLA IN 1996 AND 1897, MY MOTHER WAS REPETEADLY QUESTIONED. THE SLA THREATENED TO DEMOLISH MY

3.4. Have you or your family members ever belonged to or been associated with any organizations or groups in your home
country, such as, but not limited to, a political party, student group, labor union, religious organization, military or
paramilitary group, civil patrol, guerzilla organization, ethnic group, human rights group, or the press or media?

Cr Ne Yes IF "Yes," describe for each person the level of participation, any leadership or other positions held, and the
length of time you or your family members were involved in each organization or activity.

| SERVED FOR 4 1/2 YEARS WITH THE SLA. DURING MY SERVICE | WAS ASSIGNED TO SEVERAL OPERATIONS. IN 1992, | WAS
DESIGNATED SQUAD LEADER. 1 WAS ALSO ACCOUNTABLE FOR CHECKPOINT DUTY, SURVEYS, AMBUSHES TO PREVENT THE
DEPLOYMENT OF NORTHERN MILITIA OPERATIONS, AND THE MONITORING OF SUICIDAL ATTACKS BY THE HEZBOLLAH AND THE
RESISTANCE AGAINST THE SLA. MY SERVICE ENDED IN 1995 WHEN THE SLA PRESSURED ME TO JOIN IN OPERATIONS THAT
INVOLVED INHUMANE CONDUCT, SUCH AS KIDNAPPING AND KILLING OPPOSITION MEMBERS, THEIR FAMILIES, AND CIVILIANS.

B. Do you or your family members continue te participate in any way 2n these organizations or groups?
[a No [} Yes  If"Yes," describe for each person, you or your family members' current level of participation, any
leadership or other positions currently heid, and the length of time you or your members have been involved in each

organization or group.

4. Are you afraid of being subjected to torture in your home country or any other country to whick you may be returned?

C) No fs Yes If "Yes," explain why you are afraid and describe the nature of the torture you fear, by whom, and why it would
be inflicted.

| FEAR BEING TORTURED IN LEBANON BY THE SLA AND HEZBOLLAH. | FEAR THE SLA WILL SLAP, KICK, AND PUNCH ME ~ AS
THEY HAVE DONE IN THE PAST. | ALSO FEAR THAT THEY WiLL SHOOT AT ME AGAIN WITH A RIFLE AND THREATEN MY AND MY
FAMILY’S LIFE. | FEAR THEY WILL DETAIN ME IN A SMALL CELL FOR LONG PERIODS OF TIME WITHOUT SUFFICIENT FOOD. BUT,
MOST OF ALL, | FEAR THAT THE SLA OR CIVILIANS WHO HAVE BRANDED ME A TRAITOR WILL. MURDER ME ONCE THEY IDENTIFY
ME.

| FEAR THE HEZBOLLAH WILL CAPTURE ME IF 1 RETURN TO LEBANON. | FEAR THAT THEY WILL TORTURE ME AND
ULTIMATELY KILL ME FOR COLLABORATING WITH THE SLA IN THE PAST

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PART C. ADDIFIONAL INFORMATION ABOUT YOUR APPLICATION
(Use Supplement B Forni 1-589 ov attach additional sheets of paper as needed to complete your responses to the questions
contained in Part C)

), Lave you, your spouse, your child(ren), your parents, or your siblings ever applied to the United States Government for refugee
status, asylum, or withholding of removal? [] No Bq Yes
If"Yes" explain the decision and what happened to any status you, your spouse, your child(ren), your parents, or your siblings
received as a result of that decision. Picase indicate whether or not you were included in a parent or spouse's application. If so,
please include your parent or spouse's A-number in your response. if you have been denied asylum by an Immigration Judge
or the Board of Immigration Appeals, please describe any change(s) in conditions in your country or your own personal
circumstances since the date of the denial that may affect your eligibility for asylum.

2. A. After leaving the country from which you are claiming asylum, did you or your spouse or child(ren), who are now in the
United States, travel through or reside in any other country before entering the United States? {] No Bq Yes

B, Have you, your spouse, your child(ren), or other family members such as your parents or siblings ever applied for or
received any lawful status in any country other than the one from which you are now claiming asylum? fF] No [7] Yes

If "Yes" to either or both questions (2A and/or 2B), provide for each person the following: the name of each country and the
length of stay; the person's status while there; the reasons for leaving, whether the person is entitled to return for lawful
residence purposes; and whether the person applied for refugee status or for asylum while there, and, if not, why he or she did

not do so.

2A: | FLEW FROM LEBANON TO MEXICO, TRAVELLED THROUGH MEXICO TO CALIFORNIA. | DID NOT APPLY FOR REFUGEE
STATUS OR ASYLUM IN MEXICO,

Have you, your spouse, or child(ren) ever ordered, incited, assisted, cr otherwise participated in causing harm or suffering to
any person because of his or her race, religion, nationality, membership in a particular social group or belief in a particular

political opinion?

CJ Yes if" Yes," describe in detail each such incident and your own or your spouse's or child(ren}'s involvement.

[Xj No

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PART C. ADDITIONAL INFORMATION ABOUT YOUR APPLICATION Continued

 

4. After you left the country where you were harmed or feared harm, did you return to that country?

Sd No [| Yes If" Yes," describe in detail the circumstances of your visit (for example, the date(s) of the trip(s), the
purpose(s) of the trip(s), and the length of time you remained in that country for the visit(s)).

5, Are you filing the application more than one year afier your last arrival in the United States?

Bq No [ Yes If"Yes," explain why you did not file within the first year after you arrived. You shouid be prepared to explain
at your interview or hearing why you did not file your asylum application within the first year after you arrived. For guidance in
answering this question, see Instructions, Part 1: Filing Instructions, Section V. “Completing the Form," Part C.

6. Have you or any member of your family included in the application ever committed any crime and/or been arrested, charged,
convicted and sentenced for any crimes in the United States?

C] No Yes If" Yes," for each instance, specify in your response what occurred and the circumstances, dates; length of

sentence received: location; the duration of the detention or imprisonment; the reason(s) for the detention or conviction, any

formal charges that were lodged against you or your relatives included in your application, the reason(s) for release. Attach

documents referring to these incidents, if they are available, or an explanation of why dacuments are not available.
ON 12/13/98, | WAS CHARGED FOR PERJURY AND USE OF A FALSE DOCUMENT TO CONCEAL CITIZENSHIP. THE CHARGE FOR PERJURY
WAS DISMISSED BUT! WAS CONVICTED FOR THE USE OF A FALSE DOCUMENT TO CONCEAL CITIZENSHIP. WHILE APPLYING FORA
CALIFORNIA DRIVERS LICENSE, | USED A FALSE NAME AND DATE OF BIRTH THAT WAS PRINTED ON A FALSE SOCIAL SECURITY CARD
AND US |.D. CARD.

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PART D,. YOUR SIGNATURE

After reading the information regarding penalties in the instructions, complete and sign below. Uf someone helped you prepare this application, he or she
must complete Part E.

 

| certify, under penalty of perjury under the laws of the United States of America, that this application and the
evidence submitted with it are all true and correct. Title 18, United States Code, Section 1546, provides in part;
"Whoever knowingly makes under oath, or as permitted under penalty of perjury under section 1746 of Title 28,
United States Code, knowingly subscribes as true, any false statement with respect to a material fact in any application, Staple your photograph here
affidavit, or knowingly presents any such application, affidavit, or other document required by the immigration laws or the photograph of the
or regulations prescribed thereunder, or knowingly presents any such application, affidavit, or other document comlaining family member to be

: : . ace tl : : inciuded on the extra copy
any such false statement or which fails to contain any reasonable basis in the law or fact - shall be fined in accordance with of the application submitted
this Gtle or imprisoned not more than five years, or both." T authorize the release of any information from my record for that person.
which the Bureau of Citizenship and Immigration Service needs to determine eligibility for the benefit I am secking.

 

 

WARNING: Applicants who are in the United States illegally are subject te removal if their asylum or withholding claims are not granted by
an Asylum Officer or an Immigration Judge. Any information provided in completing this application may be used as a basis for the
institution of, or as evidence in, removal proceedings even if the application is later withdrawn. Applicants determined to have knowingly
made a frivolous application for asylum will be permanently ineligible for any benefits under the immigration and Nationality Act. See
208(d)({6) of the Act and 8 CFR 208.20,

 

 

Print Complete Name Write your name in your native alphabet

HUSSEIN SALEH a lp e b>

 

 

 

 

Did your spouse, parent, or child(ren) assist you in completing this application? CI No ] Yes (if Yes,” list the namie and relationship.)

 

 

{Name} {Relationship} (Name) (Relationship)
Did someone other than your spouse, parent, or child(ren) prepare this application? C] No (1) Yes (if "Yes," complete Part £)

Asylum applicants may be represented by counsel. Have you been provided with a list of persons who may be available to assist you, at {ittle or no cost,
with your asylum claim? [} No [) Yes
Signature of Applicantfe person in Part AL)

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[ ANG OAL 3] Eso Fd /es

ate (Mo/Doy/¥r)

Sign your name so it all appears within thiSbrackets

PARTE. DECLARATION OF PERSON PREPARING FORM IF OTHER THAN APPLICANT, SPOUSE, PARENT OR CHILD
I deciare that | have prepared this application at the request of the person named in Part D, that the responses provided are based on ail information of which i
have knowledge, or which was provided to me by the applicant and that the completed application was read to the applicant in his or her native language or a
language he or she understands for verification before he or she signed the application in my presence, I am aware that the knowing placement of false
information on the Form [-5$9 may also subject me to civil penalties under 8 U.S.C. 1324{c).

 

 

 

 

 

Signature of Preparer R Print Complete Name WAFA J.HOBALLAH, LL.M.
LAW OFFICES OF WAFA J. HOBALLAH, LL.M.
Daytime-fetephone Address of Preparer: Street Number and Name
Numbér-(810) 277- 6953 2029 CENTURY PARK EAST., SUITE 2700
Apt. No. City State ZIP Code
LOS ANGELES, CA 90067

 

 

 

 

PART F. TO BE COMPLETED AT INTERVIEW OR HEARING
You will be asked to complete this Part when you appear bejore an Asylum Officer of the U.S. Departmeni of Homeland Security, Bureau of Citizenship and

immigration Services (BCiS), or an Immigration Judge of the Executive Office for Immigration Review (EOIR} jor
examination.
I swear (affirm) that | know the contents of this application that i am signing, including the attached documents and supplements, that they are all true

to the best of my knowledge taking into account correction(s} numbered _ou... sto that were made by me or at my request

Signed and sworn to before me by the above named applicant on:

 

 

Signature of Applicant Date (AMfo/Day/¥r)

 

 

Write Your Name in Your Native Alphabet Signature of Asyium Officer or Immigration Judge

Form [-389 (Rey. 07/03/03)Y Page 9

 
Addenda fo? F5tiR F485 ORW POGUE Datel ane AHS Page 11 of 19 Page ID #:175

Addendum to [-589 Page 5, Part B, Question 1A.
PRESSURED ME TO JOIN IN OPERATIONS THAT INVOLVED INHUMANE CONDUCT, SUCH AS KIDNAPPING/KILLING OPPOSITION

MEMBERS. SINCE MY REFUSAL, THE SLA HAS HARMED AND THREATENED ME AND MY FAMILY BECAUSE | REFUSED TO REJOIN THEM
AND COMPLY WITH THEIR ORDERS. ! HAVE BEEN LABELED AS A "DESERTER.”

Addendum to [-589 Page 6, Part B, Question 2.
HOUSE AND DESTROY OUR CROPS IF THEY DID NOT DIVULGE INFORMATION ABOUT ME.
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6708 GIFFORD STREET, APTA BELL CA U.S.A JUN 2000 | JAN 2005
6619 GIFFORD STREET, APT A BELL CA U.S.A MAY 1997 | MAY 2000
APPLICANT'S LAST ADDRESS GUTSIDE THE UNITED STATES OF MORE THAN ONE YEAR FROM TO
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STAR CITY A&H 7262 S. LOS ANGELES ST. LOS ANGELES, CA BUSSINESSMAN (JUN 1999 PRESENT TIME

 

 

 

 

 

 

 

 

 

 

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NONE YAROUN LEBANON (any) 604-385-0826
FAMILY NAME FIRST NAME DATE, CITY AND COUNTRY OF BIRTH Uf known) CITY AND COUNTRY OF RESIDENCE
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8619 GIFFORD STREET, APT A BELL CA U.S.A MAY 1997 | MAY 2000
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ALL OTHER NAMES USED {including names by previous marriages) CITY AND COUNTRY OF BIRTH SOCIAL SECURITY NO.
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FAMILY NAME FIRST NAME DATE, CITY AND COUNTRY OF BIRTH Uf known} CITY AND COUNTRY OF RESIDENCE
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‘ATHER
MOTHER (Maken name) SALIM ZAHRAH UNKNOWN YAROUN, LEBANON YAROUN LEBANON
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6619 GIFFORD STREET, APTA BELL CA U.S.A MAY 1997 | MAY 2000
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MOTHER (Maiden name) SALIM ZAHRAH UNKNOWN YAROUN, LEBANON YAROUN LEBANON
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(Given name) (Middie name) {Alien registration number}

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OFFICE CODE:
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ADDENDUM TO FORM 1-589
HUSSEIN SALEH A# 073-809-218

My name is Hussein Saleh. I was born on November 17, 1970 at Yaroun, Lebanon. I
grew up in Yaroun in a loving family supported by my parents and my siblings. i
remained in Lebanon until 1997 when I was forced to run away fearing for my life due to
political conflicts and military operations caused by the Southern Lebanon Army (SLA)
and the emergence of the Hezbollah.

During the political governance of the SLA, it was an obligation and common practice to
enlist young males in the Army. Any opposition to this resulted in jail, beatings,
persecution and harassment to the person and the family.

In 1990, with other teenagers at Yaroun, I was forced to enlist with the Southern Lebanon
Army (SLA). In 1992, I was selected to be the squad leader, and my responsibilities
included checkpoints, surveys and ambushes to prevent the deployment of the Northern
militia attacks, In addition to the responsibilities of squad leadership, I was pressured to
take up new responsibilities in 1995 that would involve kidnapping of the opposition
militia and their civilian family members, which I strongly opposed and as result |
decided to quit the squad operations of the Southern Lebanon Army.

The SLA pressured me to rejoin the military, which I refused. I was labeled a deserter by
the SLA. My two brothers were arrested and so was my father. My mother was
questioned for my whereabouts and the SLA threatened to demolish our home if my
family does not disclose any information pertaining to my whereabouts.

I was arrested twice. My first arrest was in November 1996 by SLA and detained in the
Seventeenth. I was held incommunicado, severely tortured and interrogated at gunpoint
for my refusal to rejoin the SLA. I was also accused of supporting the Hezbollah militia. I
was also pressured to disclose information regarding my family’s collaboration with the
Hezbollah militia. As a result of my denial of their accusations and the disclosure of the
information they wanted from me, the SLA threatened to kill my parents and my siblings.
I was released after one month of when my father persuaded SLA leaders with a bribe for

my release.

In June 1997, while playing soccer, I was re-arrested by four SLA agents. | was
forcefully taken into detention for over seven hours at a remote area that I cannot recall.
During the interrogations, the SLA agents maintained that I must rejoin the SLA or suffer
consequences. They pointed out that they wanted me to be responsible for military
operations that involved the kidnapping of the opposition miltia and their civilian family
members, which I refused consistently. In an effort to force my return to the SLA, the
agents shot bullets between my feet and during the scuffle my arm was shot.

In pursue of my return to the militia, after three months of my second arrest, the SLA
informed my father that I should either rejoin in a week or face death.
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Because of these death threats, I was forced to go into hiding in the mountains of the
neighboring village of Kafarkela where I remained for two days. I was then smuggled
out of Kafarleka by my friends to Beirut through the city of Tyre. I remained in hiding in
the mountains near Beirut for a few months until my escape was arranged and secured.

I used my Lebanese passport to leave Lebanon to Mexico, and entered United States
through San Ysidro.

I request to remain in the United States where I have my family and home, My return to
Lebanon is impossible because of my fear of Hezbollah which is known to have retaliated
against all members of the SLA and has personally threatened me if I returned. My life
would be endangered if not killed.

Respectfully Submitted,
- (LA SA

Hussein Saleh.

I, YOUSSEF CHAHIN, certify that I am fluent in the English and Arabic

languages, that I am competent to translate this document, and that the translation

is true and accurate to the best of my abilities.

 
 

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Date

 

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